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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 10-20410-CR-LENARD/TURNOFF

  UNITED STATES OF AMERICA,

                       Plaintiff,
  vs.

  DEXTER EARL KEMP,

                   Defendant.
  ________________________________/

        ORDER ADOPTING REPORT AND RECOMMENDATION (D.E. 481)
        AND DENYING DEFENDANT DEXTER EARL KEMP’S MOTION TO
                         SUPPRESS (D.E. 306)

         THIS CAUSE is before the Court on the Report and Recommendation of U.S.

  Magistrate Judge William C. Turnoff (“Report,” D.E. 481), issued on November 22,

  2011. In his Report, Magistrate Judge Turnoff recommends that Defendant Dexter Earl

  Kemp’s Motion to Suppress (D.E. 306), filed on September 3, 2010, be denied. (Report

  at 11.) The Report finds that the owner of the home in which Defendant had been living

  freely and voluntarily executed the consent to search form, allowing FBI agents to search

  Defendant’s bedroom. (See id.) Thus, all evidence obtained by agents during the

  protective sweep and valid consent search of Defendant’s room should not be suppressed.

  (Id.) The Report also provides that any objections may be filed within fourteen days of

  its receipt by the parties. (Id.) To date, no objections to the Report have been filed.

  Failure to timely file objections shall bar parties from attacking on appeal the factual

  findings contained in the report. See Resolution Trust Corp. v. Hallmark Builders, Inc.,
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  996 F.2d 1144, 1149 (11th Cir. 1993).

          Therefore, after an independent review of the Report and record, it is hereby

  ORDERED AND ADJUDGED that:

          1.    The Report of the Magistrate Judge (D.E. 481), issued on November 22,

                2011, is ADOPTED.

          2.    Defendant Dexter Earl Kemp’s Motion to Suppress (D.E. 306), filed on

                September 3, 2010, is DENIED.

          DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of April,

  2011.



                                                         JOAN A. LENARD
                                                   UNITED STATES DISTRICT JUDGE




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